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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-181V
                                       Filed: April 22, 2015

* * * * * * * * * * * * * * * *                                UNPUBLISHED
MATTHEW ANDREWS,              *
                              *                                Special Master Dorsey
          Petitioner,         *
                              *
v.                            *                                Joint Stipulation on Damages;
                              *                                Influenza (Flu) Vaccine; Bell’s
SECRETARY OF HEALTH           *                                Palsy; Attorneys’ Fees and Costs;
AND HUMAN SERVICES,           *                                Reasonable Amount to Which
                              *                                Respondent does not Object.
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Nicholas Edward Bunch, White, Getgey & Meyer Co., LPA, Cincinnati, OH, for petitioner.
Jennifer Leigh Reynaud, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On March 5, 2014, Matthew Andrews (“petitioner”), filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that a live attenuated nasal influenza (“flu”) vaccine administered to him on
March 8, 2011, caused him to suffer a vaccine-related injury diagnosed as Bell’s palsy. Petition
at 1-2. Petitioner further alleged that he suffered the residual effects or complications of his


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

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vaccine injury for more than six months. Id. at 2. On April 22, 2015, the parties filed a
stipulation, stating that a decision should be entered awarding compensation.

        Respondent denies that petitioner’s alleged Bell’s palsy and residual effects were caused-
in-fact by the flu vaccine. Respondent further denies that the flu vaccine caused petitioner any
other injury or his current condition. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       a. A lump sum of $30,000.00, in the form of a check payable to petitioner. This
          amount represent compensation for all damages that would be available under 42
          U.S.C. § 300aa-15(a).

       b. A lump sum of $8,000.00, in the form of a check payable to petitioner and
          petitioner’s attorney, Nicholas Edward Bunch., at White, Getgey & Meyer Co.,
          LPA, for attorneys’ fees and costs available under 42 U.S.C. §300aa-15(e), and in
          compliance with General Order #9, no out-of-pocket expenses were incurred by
          petitioner in proceeding on the petition.

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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